     Case 1:23-cr-00015-HYJ ECF No. 94, PageID.418 Filed 09/23/24 Page 1 of 11




                                UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF MICHIGAN
                                     SOUTHERN DIVISION
                                          --------

UNITED STATES OF AMERICA,
                                                                      Case No. 1:23-CR-15
        Plaintiff,
                                                                      Hon. Hala Y. Jarbou
v.                                                                    Chief United States District Judge

ARISKNIGHT ARKIN-EVERETT WINFREE,

      Defendant.
__________________________________/

              DEFENDANT ARISKNIGHT WINFREE’S BRIEF IN SUPPORT
                    OF MOTION FOR DOWNWARD VARIANCE

        On October 7, 2024, this Court will sentence Arisknight Winfree following his nolo

contendere plea to counts one through five of the indictment. United States Probation

calculated Mr. Winfree’s total offense level to be 431 and assigned him a criminal history

category I. (R. 88, presentence report (“PSR”) ¶ 238, PageID.369.) As set forth in the

accompanying sentencing memorandum, Mr. Winfree maintains a single objection to the

final presentence report. Even if the Court sustains that objection, however, the

guidelines range will be unaffected. Accordingly, if all proposed sentencing

enhancements are applied, Mr. Winfree’s advisory guideline range would be life. (Id.)

        For the reasons set forth below, Mr. Winfree respectfully asks the Court to impose

a sentence below the advisory guidelines range.




1 “Pursuant to Chapter 5, Part A (comment n.2), in those rare instances where the total offense level is

calculated in excess of 43, in this case 46, the offense level will be treated as a level 43.” (PSR, ¶ 151.)
  Case 1:23-cr-00015-HYJ ECF No. 94, PageID.419 Filed 09/23/24 Page 2 of 11




                   FACTUAL AND PROCEDURAL BACKGROUND

       The facts of the case are well-established in the reports giving rise to the

allegations, the indictment, and the PSR. Because Mr. Winfree pled no contest to the five

counts in this matter, he does not offer his own recitation of the facts. In short, the

evidence would demonstrate that during a brief and tumultuous period of his life Mr.

Winfree engaged in a series of sex crimes, some of which included convincing would-be

au pairs to come to his home in East Lansing, Michigan. Undoubtedly, these crimes were

egregious, morally abhorrent, and without any excuse or justification. Mr. Winfree has

accepted responsibility for these crimes, indicating to the Court that his “own poor

choices” have resulted in “emotional and psychological scars” for the victims and

“extreme stress and emotional heartbreak” for his own family members. (R. 88, PSR, p.

25-26, ¶ 117.) And, of course, Mr. Winfree’s own life has been destroyed by his actions.

He struggles with nightmares, has lost friendships, and has seen firsthand the “rupture

of trust in the community” that his actions have caused. (Id.)

       While there is no excuse for Mr. Winfree’s conduct in this case, there are some

contributing factors. As further discussed below, Mr. Winfree is himself a victim of sexual

assault—an assault that took place when he was between 7 and 10 years old at the hands

of the very same “friend” who introduced him to many of the concepts that matured into

the crimes in this case. (Id. at ¶ 191.) Mr. Winfree also suffers from previously

undiagnosed and unmedicated Narcissistic Personality Disorder with Antisocial

Personality Disorder Traits. (Id. at p. 49, ¶ 208.) While the BOP ruled out Bipolar I disorder

(Id. at ¶ 205), Mr. Winfree was previously diagnosed with bipolar disorder in 2023 and




                                              2
  Case 1:23-cr-00015-HYJ ECF No. 94, PageID.420 Filed 09/23/24 Page 3 of 11




began taking medication for it in May of that year. (Id. at ¶ 202.) He reports that he feels

much better on the medication and “wish[es] [he] had sought help sooner.” (Id.)

       The PSR also includes many in-depth descriptions of Mr. Winfree’s severe and

repeated bouts with mania, delusion, depression, and—for all intents and purposes—a

complete disconnection from reality. (See, e.g., Id. at ¶ 209 (“Mr. Winfree described, ‘in

these states [manic states] I am “inevitable” and believe I have Godlike powers and that

the world and universe is my domain.’ In discussion of his life during the alleged

incident, Mr. Winfree referenced feeling ‘capable of anything.’ When discussing his

alleged offenses, Mr. Winfree explained ‘at the time I thought I was irresistible, why

would you not want to have sex with me.’ Additionally, he expressed being ‘charismatic’

to the point where he could, ‘make other people believe my delusions.’ On one occasion,

he detailed receiving a job which paid $7,500 per month. When asked how he was hired

without completing his education, Mr. Winfree responded due to his ‘extreme

charisma.’”) While Mr. Winfree was found to be competent and capable of understanding

right and wrong for purposes of these proceedings, he was clearly a deeply troubled

person at the time of these offenses.

       In the PSR, after calculating a total offense level of 43, the author recommended a

life sentence. Given the contributing factors discussed above and further below, Mr.

Winfree respectfully requests a downward variance from the recommended sentence.




                                             3
  Case 1:23-cr-00015-HYJ ECF No. 94, PageID.421 Filed 09/23/24 Page 4 of 11




                                      ARGUMENT

       As the Court is aware, when sentencing a defendant who has been found guilty

of a crime, this Court must comply with the basic aims of sentencing set forth in 18 U.S.C.

§ 3553(a). Rita v. United States, 551 U.S. 338, 348 (2007). The Court should “impose a

sentence sufficient, but not greater than necessary” to accomplish the goals of sentencing.

18 U.S.C. § 3553(a); Kimbrough v. United States, 522 U.S. 85, 101 (2007). While courts must

continue to consider the sentencing guidelines, they are no longer mandatory, and courts

are only required to impose the least amount of imprisonment necessary to accomplish

the purposes of sentencing as set forth in 18 U.S.C. § 3553(a). Those factors are:

               (1) the nature and circumstances of the offense and the
               history and characteristics of the defendant; (2) the need for
               the sentence imposed; (3) the kinds of sentences available; (4)
               the kinds of sentence and the sentencing range established
               for the applicable category of offense committed by the
               applicable category of defendant as set forth in the
               guidelines; (5) any pertinent policy statement; (6) the need to
               avoid unwarranted sentence disparities among defendants
               with similar records who have been found guilty of similar
               conduct; and (7) the need to provide restitution to any
               victims of the offense.

18 U.S.C. § 3553(a)(1)-(7) (cleaned up).

       In determining the “need for the sentence imposed” under the second factor, the

Court should craft a sentence “to reflect the seriousness of the offense,” “to promote

respect for the law,” “to provide just punishment for the offense,” “to afford adequate

deterrence to criminal conduct,” “to protect the public from further crimes of the

defendant,” and “to provide the defendant with needed education or vocational training,

medical care, or other correctional treatment in the most effective manner.” 18 U.S.C. §




                                             4
  Case 1:23-cr-00015-HYJ ECF No. 94, PageID.422 Filed 09/23/24 Page 5 of 11




3553(a)(2)(A)-(D); see Kimbrough, 552 U.S. at 101. In United States v. Ferguson, 456 F.3d 660,

665 (6th Cir. 2006), the Sixth Circuit held that, after United States v. Booker, 543 U.S. 220

(2005), a judge must impose the lowest sentence that is minimally sufficient to meet those

goals, whether that sentence consists of probation, time served, a mandatory minimum

sentence, the statutory maximum sentence, or somewhere in between. In this case,

several of the factors are particularly relevant.

   A. The Need for the Sentence Imposed Should Consider Treatment Options; Mr.
      Winfree’s Need is Clear

       There is no question that the nature and circumstances of the offenses here warrant

a significant sentence. But Mr. Winfree asks the Court to consider how best to craft a

sentence that satisfies the “need for the sentence imposed.” Specifically, the Court should

consider a sentence “to provide the defendant with needed education or vocational

training, medical care, or other correctional treatment in the most effective manner.” 18

U.S.C. § 3553(a)(2)(D).

       Mr. Winfree is a young man in his early thirties. Despite having a relatively normal

childhood, something clearly went wrong. (R. 88, PSR, ¶ 192 (“Mr. Winfree remembered

swimming, running track, playing soccer, playing piano, singing, going to church,

participating in mathletes, reading, cooking, hiking, walking, and playing video games

as a child . . . He stated he experienced a severe panic attack at age 19, which led to him

dropping out of school.”) While the reasons for bipolar disorder, manic-depressive

tendencies, and narcissistic personality disorder are beyond the scope of this brief, Mr.

Winfree does impress upon the Court the effect of those mental disorders on his life. And,

in particular, he would point the Court to the effects of one person: Paul Heiselman. In


                                              5
  Case 1:23-cr-00015-HYJ ECF No. 94, PageID.423 Filed 09/23/24 Page 6 of 11




reviewing the PSR, one is struck by the consistent influence that Heiselman had on Mr.

Winfree, and never for the better. Mr. Winfree reports that, when he was a young child,

between 7 and 10 years old, Heiselman made Mr. Winfree shower with him and commit

sexual acts with Heiselman.

       Further, it was Heiselman who “screened” the potential victims that Mr. Winfree

found, as Mr. Winfree “sent the profiles to Mr. Heiselman at Mr. Heiselman’s request,

and Mr. Heiselman would then approve or disapprove of who would be invited to the

residence.” (Id. at ¶ 81.) It was Heiselman who, after Mr. Winfree sent him an illicit photo

would “ask[] for more images,” even logging into the security cameras to be a voyeur to

what was happening in the house. (Id. at ¶ 86-87; 90.) It was Heiselman who convinced

Mr. Winfree to pretend to have a family online, because “parents would not allow an au

par to come to a single man’s house.” (Id. at ¶ 98.) It was Heiselman who coached Mr.

Winfree on how to “slowly remov[e] the children from the messaging with the au pairs”

to imply that the relationship was going to be a sexual one and then, upon arrival, to

begin grooming the victims with requests for massages. (Id. at ¶ 100-01.) And it was

Heiselman who told Mr. Winfree to “restrain[] the au pairs if they did not comply with

sexual advances.” (Id. at ¶105.)

       Mr. Winfree is a young man who needs and needed help. And he believed that his

good friend, Paul Heiselman, was there to help him. When Mr. Winfree was pushing

everyone away in a mental health crisis, his parents would “reach out to Paul Heiselman

to get any information and make sure he was okay. Paul was his best friend. ArisKnight

tended to follow and listen to Paul.” (Ex. A, Jean Winfree Letter, 2 (emphasis added).) But




                                             6
  Case 1:23-cr-00015-HYJ ECF No. 94, PageID.424 Filed 09/23/24 Page 7 of 11




Heiselman was not a friend. In fact, Heiselman instead served as the near-constant voice

in Mr. Winfree’s life pushing him further down a path into delinquency.

       Ultimately, it was Mr. Winfree who made his own decisions, and he alone bears

responsibility for the consequences. But in fashioning an appropriate sentence, Mr.

Winfree asks the Court to consider Heiselman’s impact, along with what treatment

options are available to him. 18 U.S.C. § 3553(a)(2)(D). He asks the Court to impose the

lowest sentence that is minimally sufficient to meet the other goals outlined in section

3553, especially considering his history of mental health. Mr. Winfree, with appropriate

treatment, will not be the same person at age 40, 60, or 80 years old. A life sentence would

confine him to prison for perhaps the next 60 or more years, never giving him an

opportunity to demonstrate that he can change. Mr. Winfree believes that—with

treatment—he can change his habits, his way of engaging with the world, and his

narcissistic tendencies. He can turn from that path of delinquency that Mr. Winfree chose

to walk down, and which has been encouraged and cultivated by Heiselman, and he can

re-enter society as a changed person.

   B. Mr. Winfree’s Family Provides Additional Context Demonstrating Need for
      Treatment.

       In further support of his request for a variance, Mr. Winfree is attaching four letters

of support from his family. Those letters share a common theme: Mr. Winfree was a

gifted, kind child who began to struggle as he moved into his teen and young-adult years.

(See Exs. A-D.) And his family asks the Court to give Mr. Winfree a chance to return to

that kind young man that he once was. David Winfree, Mr. Winfree’s father, writes that

Mr. Winfree enjoyed family vacations, soccer games, religious and spiritual books, and


                                              7
  Case 1:23-cr-00015-HYJ ECF No. 94, PageID.425 Filed 09/23/24 Page 8 of 11




involvement in the children’s choir. (Ex. D., D. Winfree Letter, 1.) Unfortunately, though,

as he entered his teen years, “something shifted.” (Id.) As he processed the world around

him more quickly than others, “his communications, emotional reactions, and behavior

appeared out of proportion, distorted, and outside of the expected norm.” (Id. at 2.) These

problems became worse, and Mr. Winfree’s father believes that “his being in a highly

disassociated, manic, tunnel-focused state of mind significantly contributed” to these

crimes. (Id. at 3.) Still, he holds out hope for his son. “I hope there will be potential for

him to be released,” David Winfree says, “and eventually recover the positive and

beautiful parts of himself and make constructive contributions to society.” (Id.)

        Likewise, Mr. Winfree’s mother writes that he “was much loved by his family”

and “was a very loving child.” (Ex. A, Jean Winfree Letter, 1.) Even so, as a child and

teenager, he showed manic-depressive tendencies: “He could be extremely well behaved

for several days in a row and then become extremely difficult for several days.” (Id.)

These tendencies got worse in his early twenties and, “at one point, [his family]

considered calling 9-1-1 to have him involuntarily committed to a hospital.” (Id. at 2.) Ms.

Winfree notes that she is “beyond devastated that [her] son’s actions have caused great

pain and damage to the community.” And, still, she asks for leniency and that Mr.

Winfree might “receive the medical and therapeutic treatment that he so badly needs.”

(Id.)

        Mr. Winfree’s aunt and uncle make similar pleas to the Court, acknowledging both

the gravity of the instant offenses and the contributing factors to those crimes. (Ex. C-D.)

Mr. Winfree recognizes that he has already been determined fit to stand trial and that his




                                             8
  Case 1:23-cr-00015-HYJ ECF No. 94, PageID.426 Filed 09/23/24 Page 9 of 11




mental health does not excuse the heinous things he did. He asks only that the Court

consider his history, his need for treatment, and the sanctions available when crafting the

sentence, ultimately varying downward from the recommendation of a life sentence.

   C. A Downward Variance Will Still Adequately Deter Future Conduct

       Pursuant to 18 U.S.C. § 3553(a)(2)(B), the Court must also consider “the need for

the sentence imposed . . . to afford adequate deterrence to criminal conduct.” Amy Baron-

Evans, a leading scholar on federal sentencing and member of the Sentencing Resource

Counsel, writes:

              Indeed, while many believe that the higher the sentence, the
              greater the effect in deterring others, the empirical research
              shows no relationship between sentence length and
              deterrence. The general research finding is that “deterrence
              works,” in the sense that there is less crime with a criminal
              justice system than there would be without one. But the
              question for the judge is “marginal deterrence,” i.e., whether
              any particular quantum of punishment results in increased
              deterrence and thus decreased crime. Here the findings are
              uniformly negative: there is no evidence that increases in
              sentence length reduce crime through deterrence.

Amy     Baron-Evans,     Sentencing   by   the   Statute,   Defender    Services    Office,

https://www.fd.org/sites/default/files/criminal_defense_topics/essential_topics/sen

tencing_resources/sentencing-by-the-statute.pdf (Apr. 27, 2009). Thus, a vast increase in

the length of the sentence, relative to administration of some punishment, does not

increase the deterrent effect.

       Mr. Winfree knows the administration of punishment is coming and that, in and

of itself, is enough to provide the adequate deterrent effect the court must consider in

determining the sentence. Deterrence will be accomplished as readily and as fully for Mr.




                                            9
 Case 1:23-cr-00015-HYJ ECF No. 94, PageID.427 Filed 09/23/24 Page 10 of 11




Winfree with a sentence of 20 years—as permitted for Counts 2 and 3—as it would be

under a lifetime sentence. No doubt spending the majority of his working years in prison,

from approximate age of 30 to the age of 50, will deter Mr. Winfree from ever committing

these crimes again. For this reason, Mr. Winfree submits that deterrence can be

accomplished even through a downward variance.

   D. The Need to Protect the Public from Further Crimes of Mr. Winfree

       18 U.S.C. § 3553(a)(2)(C) instructs the Court to consider “the need for the sentence

imposed . . . to protect the public from further crimes of the defendant.” The objective of

this provision is to consider Mr. Winfree’s risk of recidivism and what, if any, danger he

poses to the public. As a defendant with a criminal history score of one, Mr. Winfree has

demonstrated that his criminal propensity is tied to his mental health, with the majority

of his criminal activity arising within a short window of less than two years. While Mr.

Winfree’s conduct in this case no doubt posed great danger to both domestic and foreign

communities, his history does not demonstrate that he will be engaged in a life of crime.

He has and will learn his lessons from this case. Whether he spends 20 years in prison or

something more, he is confident that he will not be back before this Court.

   E. The Need to Avoid Unwarranted Sentencing Disparities

       18 U.S.C. § 3553(a)(6) requires the Court to consider “the need to avoid

unwarranted disparities among defendants with similar records who have been found

guilty of similar conduct” in determining a sentence. Pursuant to Section 3553(a)(3), the

Court is to consider “the kinds of sentences available.” The Court may sentence Mr.

Winfree up to a life in prison. Because the Guidelines are advisory, the Court need not




                                            10
 Case 1:23-cr-00015-HYJ ECF No. 94, PageID.428 Filed 09/23/24 Page 11 of 11




sentence him to that maximum term, so long as the sentence is properly justified under

18 U.S.C. § 3553. When determining whether Mr. Winfree should receive a sentence

below life in prison, he asks that the Court consider the sentences ordered in similarly

situated cases, as it is required to do, along with the individual characteristics he

possesses that differentiate him from others who have been similarly charged. Namely,

he asks the Court to consider that he has himself been a victim of molestation (R. 88, PSR,

¶ 191), that he has been influenced deeply by an older, more sexually driven individual

(Id. at ¶ 99), and that he desperately needs mental health treatment (Id. at ¶ 202).

                                     CONCLUSION

       In asking for a variance, Mr. Winfree in no way intends to minimize the

seriousness of his crimes. He is truly sorry for the choices he made and the person he

became during this dark time. He is very aware that his decisions profoundly impacted

the lives of many people, in ways that he should have foreseen but unfortunately ignored.

For the reasons set forth above and which will be stated on the record at sentencing, Mr.

Winfree respectfully requests that this Court vary from the advisory guidelines range and

impose a sentence that is sufficient but not greater than necessary to comply with the

purposes of sentencing enunciated by Congress in 18 U.S.C. § 3553(a). He respectfully

requests that this Court impose a sentence below the recommended sentence in the PSR.

                                                 Respectfully submitted,

Dated: September 23, 2024                        /s/ Heath M. Lynch
                                                 HEATH M. LYNCH (P81483)
                                                 SBBL LAW, PLLC
                                                 60 Monroe Center NW, Suite 500
                                                 Grand Rapids, MI 49503




                                            11
